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                          UNITED STATES DISTRICT COURT
                      IN THE WESTERN DISTRICT OF MICHIGAN



   ELIZABETH A. SPALSBURY,

                  Plaintiff,                                   Case No. 1:23-cv-120
                                                               Hon. Hala Y. Jarbou

   EXPERIAN INFORMATION SOLUTIONS, INC.
   EQUIFAX INFORMATION SERVICES LLC
   and TRANS UNION LLC,


                  Defendant(s).

   _______________________________________________________________________/


                                  NOTICE OF SETTLEMENT

          PLEASE TAKE NOTICE that all matters herein have been compromised and

   resolved between the Plaintiff and Defendant Trans Union LLC only, and the parties

   anticipate filing a Notice of Dismissal with Prejudice and proposed order no later than

   January 22, 2024 once this matter has been definitively resolved.




   RESPECTFULLY SUBMITTED,

   Date: December 21, 2023

   /s/Nicholas A. Reyna
   Nicholas A. Reyna (P68328)
   Attorney for Plaintiff
   528 Bridge ST NW, Ste. 1A
   Grand Rapids, MI 49504
   (616) 235-4444




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